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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

 SABEIN BURGESS,                             )
                                             )         Case No. 1:15-cv-00834-RDB
             Plaintiff,                      )
                                             )         Hon. Richard D. Bennett,
             v.                              )         District Judge
                                             )
 BALTIMORE POLICE                            )
 DEPARTMENT, et al.,                         )
                                             )         JURY TRIAL DEMANDED
             Defendants.                     )


               UNOPPOSED MOTION FOR EXTENSION OF TIME
           TO FILE A PETITION FOR ATTORNEYS’ FEES AND COSTS

      Plaintiff, Sabein Burgess, by his attorneys, respectfully requests a brief

extension of time, up to and including June 25, 2021, to file his petition for

attorneys’ fees and costs pursuant to 42 U.S.C. § 1988, stating as follows:

      1.      On July 2, 2019, following the entry of judgment in this matter, Plaintiff

filed a Motion to Set A Schedule to Adjudicate Section 1988 Attorneys’ Fees. ECF No.

444. Defendants opposed, and in the alternative they asked the Court to stay

adjudication of attorneys’ fees while the appeal of this matter was pending. See ECF

No. 447.

      2.      On July 22, 2019, this Court held that it would follow the custom of

waiting to rule on fee petitions until the appeal was resolved by the Fourth Circuit.

ECF No. 447. The Court stayed all deadlines concerning costs and fees pending the

outcome of the appeal. Id.
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       3.     On May 14, 2021, the Fourth Circuit affirmed this Court’s resolution of

the case in all respects, except that it reversed dismissal of the Monell claims. Burgess

v. BPD, et al., No. 19-1600, ECF No. 88 (4th Cir. May 14, 2021); see also ECF No. 449.

The case has been remanded to this Court for further proceedings. Id.

       4.     Pursuant to this Court’s stay ruling and the Local Rules, Plaintiff’s

petition for fees and costs is currently due on May 28, 2021, which is 14 days after

the Fourth Circuit’s decision.

       5.     Plaintiff is working to assemble his petition for fees and costs, but he

requires a brief extension of time to do so. Plaintiff respectfully requests time up to

and including June 25, 2021, to file his petition under 42 U.S.C. § 1988.

       6.     Plaintiff has discussed this schedule with Defendants, who have no

objection to Plaintiff’s request.

       WHEREFORE, Plaintiff Sabein Burgess respectfully requests a brief

extension of time, up to and including June 25, 2021, to file his petition for attorneys’

fees and costs pursuant to 42 U.S.C. § 1988.

                                         RESPECTFULLY SUBMITTED,

                                         /s/ Steve Art

                                         Jon Loevy, admitted pro hac vice
                                         Gayle Horn, Bar No. 7182
                                         Steve Art, admitted pro hac vice
                                         Theresa Kleinhaus, admitted pro hac vice
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                                         (312) 243-5900

                                         Attorneys for Plaintiff Sabein Burgess



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                          CERTIFICATE OF SERVICE

       I, Steve Art, an attorney, hereby certify that on May 27, 2021, I filed the
foregoing motion using the Court’s CM/ECF system, which effected service on all
counsel of record.

                                       RESPECTFULLY SUBMITTED,


                                       /s/ Steve Art

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                                       311 N. Aberdeen St., 3rd Floor
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                                       One of Plaintiff’s Attorneys




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